      2:16-cv-00163-DCN         Date Filed 08/09/17     Entry Number 92         Page 1 of 3




                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

 UVAS, LLC,                                   )
 a South Carolina limited liability company   )
                                              )
                Plaintiff,                    )
                                              )
        v.                                    )      Case No.: 2:16-cv-00163-DCN
                                              )
 XENEX DISINFECTION SERVICES,                 )
 LLC, a Texas limited liability company,      )
                                              )
                Defendant.                    )


     CONSENT ORDER RESOLVING PLAINTIFF'S MOTION FOR SANCTIONS
       Plaintiff UVAS, LLC ("UVAS") filed a Motion for Sanctions against Defendant Xenex

Disinfection Services LLC ("Xenex") on or about June 20, 2017 (Docket Entry # 80). The Plaintiff

argues that the basis for this Motion is that only a portion of Defendant Xenex's responses to

Plaintiff's Requests for Production organize and label the documents to correspond to the

categories in the requests as required by Federal Rule of Civil Procedure 34.

       Plaintiff UVAS and Defendant Xenex have resolved the dispute embodied in the

Motion for Sanctions as follows, and it is hereby ORDERED, ADJUDGED and

DECREED that:

       (a)     Defendant shall, in accordance with Federal Rule of Civil Procedure 34,

               organize and label documents produced pursuant to Plaintiff’s Requests for

               Production to correspond to the categories in the three Requests for

               Production served by Plaintiff upon the Defendant, by designating which

               specific Bates numbers which documents correspond to each specific

               document request;

       (b)     Defendant shall remove the Attorney’s Eyes Only designation from



                                               -1-
      2:16-cv-00163-DCN          Date Filed 08/09/17      Entry Number 92        Page 2 of 3




                documents produced pursuant to three Requests for Production served by

                Plaintiff upon the Defendant unless such documents are, in good faith,

                eligible for such categorization under the Protective Order in this case; and

          (c)   Defendant will comply with these requirements on or before October 15,

                2017.

          Plaintiff UVAS withdraws the Motion for Sanctions without prejudice to file an

appropriate Motion if these terms are not complied with by the Defendant Xenex.

          Plaintiff UVAS and Defendant Xenex are also discussing the documents to be produced

by Defendant Xenex in response to Plaintiff’s Third Request for Production of Documents.

Defendant Xenex withdraws its Motion for Protective Order (Docket Entry # 90) filed on August

2, 2017, without prejudice to file an appropriate motion if the parties cannot agree on documents

to be produced. Documents that are produced by Defendant Xenex in response to Plaintiff's Third

Request for Production of Documents will be designated in compliance with Rule 34 as set forth

herein.

          AND IT IS SO ORDERED.



                                       David C. Norton
                                       United States District Judge

August 9, 2017
Charleston, South Carolina




                                                -2-
    2:16-cv-00163-DCN         Date Filed 08/09/17      Entry Number 92      Page 3 of 3




BARNWELL, WHALEY, PATTERSON,                     RICHARDSON PLOWDEN & ROBINSON,
AND HELMS, LLC                                   P.A.

By: s/ John W. Fletcher                          By: s/ Samia H. Nettles
B. Craig Killough, Fed. ID No. 2330              Steven J. Pugh, Fed. I.D. #7033
David S. Cox, Fed. ID No. 6041                   1900 Barnwell Street
John W. Fletcher, Fed. ID No. 9375               Post Office Drawer 7788
P.O. Drawer H (29402)                            Columbia, South Carolina 29202
Charleston, SC 29482                             (803) 771-4400
(843) 577-7700
Counsel for Plaintiff/Counterclaim-Defendant     Samia H. Nettles, Fed. I.D. #10278
                                                 RICHARDSON PLOWDEN & ROBINSON,
                                                 P.A.
                                                 PO Box 21203
                                                 Charleston, SC 29413
                                                 (843) 805-6550
                                                 Counsel for Defendant/Counterclaim-Plaintiff




                                               -3-
